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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO



JARED BACA, et al.,

       Plaintiffs,

v.                                                           Civ. No. 18‐16 JCH/GBW

QUICK BAIL BOND AND TAX SERVICE, et al.,

       Defendants.



                          ORDER DENYING MOTION TO STAY

         This matter comes before the Court on the Arreola Defendants’ Motion to Stay

(doc. 74) and the attendant briefing (docs. 77, 82).1 The Court, having reviewed the

Motion, and being otherwise fully advised, will deny it.

         On April 4, 2019, the Arreola Defendants filed a Motion to Stay containing less

than a single page of substantive content. Doc. 74. In relevant part, the Motion solely

asks the Court to stay discovery, because “[t]here is a criminal action pending against…

Defendants [and t]he information gained from the criminal trial under oath could likely

narrow discovery requests and material issues for this court to consider.” Id. On April

12, 2019, Plaintiffs filed their Response, which argues that the Court should deny

Defendants’ Motion because the Motion violates D.N.M.LR‐Civ.7.3(a), Defendants have



1The Arreola Defendants include Quick Bail Bond & Tax Service, Yeira Ivonne Sanchez, and Fabian Ken
Terveen Arreola.
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waived their right to seek a stay by asserting affirmative defenses and counterclaims

against Plaintiffs, and the stay sought is premature and overly broad. See doc. 77.

Defendants filed a brief Reply on April 25, 2019. Doc. 82. Defendants’ Motion is now

before the Court.

       The Court DENIES Defendants’ Motion, which contains no authority in support

of the legal positions advanced, and fails to state with particularity the grounds

justifying a stay. Defendants have not abided by the local rules in seeking a stay, and

have not made clear to the Court in their cursory request that a stay would be

appropriate or prudent. See D.N.M.LR‐Civ. 7.3(a) (“A motion, response or reply must

cite authority in support of the legal positions advanced.”). Consequently, Defendants’

Motion to Stay (doc. 74) is hereby DENIED.




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                                          GREGORY B. WORMUTH
                                          UNITED STATES MAGISTRATE JUDGE




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